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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

PAUL DENNIS,                                            )
                                                        )
                        Plaintiff,                      )
                                                        )
      vs.                                               )   Case No. 4:24-cv-1305 PLC
                                                        )
ST. LOUIS UNIVERSITY                                    )
d/b/a SAINT LOUIS UNIVERSITY,                           )
                                                        )
                        Defendant.                      )


                                                  ORDER

        This matter is before the Court on review of the record. In August 2024, Plaintiff filed a

petition in the Circuit Court of the City of St. Louis alleging retaliation in violation of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. §§2000e, et seq. [ECF No. 4] Defendant removed the

action to this Court and on October 4, 2024, filed a motion to dismiss Plaintiff’s petition. [ECF

No. 12] The Court conducted a Rule 16 scheduling conference and entered a Case Management

Order establishing December 20, 2024 as the deadline for filing “[a]ll motions for...amendment of

pleadings[.]” [ECF No. 22]

        On December 20, 2024, Plaintiff filed, without seeking leave of Court, a first amended

complaint. [ECF No. 24] On January 8, 2024, Defendant filed a motion to dismiss Plaintiff’s first

amended complaint: (1) for failing to either obtain Defendant’s consent to amend or moving the

Court for leave to amend prior to filing the first amended complaint in violation of Federal Rule

of Civil Procedure 15(a)(2), and (2) pursuant to Federal Rule of Civil Procedure 12(b)(6) for failing

to state a claim. [ECF No. 27]
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       Plaintiff opposes Defendant’s motion to dismiss the first amended complaint, asserting his

filing of the first amended complaint was in compliance with the scheduling order and that Plaintiff

“reasoned” that discussions with the Court regarding possible amendment of the petition during

the Rule 16 conference “was akin to an oral motion” to amend which dispensed with the need for

a written motion seeking leave to amend. [ECF No. 29] Plaintiff requests that the Court deny

Defendant’s request to dismiss the first amended complaint for failing to file a written motion for

leave or, alternatively, to grant Plaintiff leave to file a second amended complaint with the “same

content” as the first amended complaint. [ECF No. 29] Plaintiff further contends that the first

amended complaint sufficiently pleads a cause of action for constructive retaliatory discharge.

[ECF No. 29]

       In addition to his response in opposition, Plaintiff filed a proposed second amended

complaint [ECF No. 30] that is identical to his first amended complaint [ECF No. 24], bearing the

title “First Amended Petition.” Plaintiff subsequently filed: (1) a red-lined version demonstrating

the differences between Plaintiff’s original petition and the first amended complaint [ECF No. 31],

(2) a new proposed second amended complaint, now with corrected title [ECF No. 32], and (3) a

red-lined version demonstrating the difference between Plaintiff’s first amended complaint and

new proposed second amended complaint [ECF No. 33]. Based on the documents provided by

Plaintiff, the only difference between Plaintiff’s first amended complaint [ECF No. 24] and

proposed second amended complaint [ECF No. 33] are the motions’ titles.

       Federal Rule of Civil Procedure 15(a) “governs the pretrial amendment of pleadings and

states that where an amendment is not sought ‘as a matter of course’—as defined by the Rule—‘a

party may amend its pleading only with the opposing party’s written consent or the court’s leave.’”

Sherman v. Winco Fireworks, Inc., 532 F.3d 709, 715 (8th Cir. 2008) (quoting Fed. R. Civ. P.



                                                 2
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15(a)(2)). 1 The court should freely grant leave to amend when justice so requires. Fed. R. Civ. P.

15(a)(2). Even under this liberal standard, the parties do not have an absolute right to amend their

pleadings. Sherman, 532 F.3d at 715. Denial of leave to amend pleadings is appropriate only if

“there are compelling reasons such as undue delay, bad faith, or dilatory motive, repeated failure

to cure deficiencies by amendments previously allowed, undue prejudice to the non-moving party,

or futility of the amendment.” Id. (quoting Moses.com Sec., Inc. v. Comprehensive Software Sys.,

Inc., 406 F.3d 1052, 1065 (8th Cir. 2005) (internal marks omitted)).

        Plaintiff should have sought, in compliance with Rule 15(a)(2), either Defendant’s consent

or the Court’s leave prior to filing his first amended complaint. 2 However, in consideration of Rule

15(a)(2)’s liberal standard for granting leave, Plaintiff’s attempts to cure his noncompliance, and

the parties’ briefing on the substantive issues regarding the sufficiency of Plaintiff’s first amended

complaint, the Court will grant Plaintiff leave to file his first amended complaint [ECF No. 24].

Defendant’s motion to dismiss Plaintiff’s first amended complaint [ECF No. 27] remains pending

for the Court’s disposition. 3 Plaintiff’s request for leave to file a second amended complaint 4 is

denied and, to avoid confusion, those documents Plaintiff filed in support of that request are

stricken from the record.


        1
           Rule 15(a) permits a party to amend its pleading once as a matter of course within 21 days of
serving the pleading or within 21 days after service of a responsive pleading or Rule 12(b), (e), or (f)
motion. Fed. R. Civ. P. 15(a)(1). This provision is not applicable in this case.
         2
           Notably, Plaintiff also did not file a motion for leave to file his second amended complaint but
instead requested the leave as an alternative remedy within his opposition in response to Defendant’s motion
to dismiss Plaintiff’s first amended complaint. [ECF No. 29]
         Because this request came after the deadline for amending the pleadings as established by the Case
Management Order, the request is governed by Rule 16(b), which provides guidance on the district court’s
issuance and modification of scheduling orders. Fed. R. Civ. P. 16(b); Sherman, 532 F.3d at 716. Rule
16(b) provides that case management schedule “may be modified only for good cause and with the judge’s
consent.” Fed. R. Civ. P. 16(b)(4). “The primary measure of good cause is the movant’s diligence in
attempting to meet deadlines.” Albright v. Mountain Home Sch. Dist., 926 F.3d 942, 951 (8th Cir. 2012).
         3
           Defendant’s reply is currently due January 24, 2025.
         4
           Again, this was not a separate motion but an alternative request for relief raised in his response
in opposition to Defendant’s motion to dismiss [ECF No. 29].
                                                     3
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       In addition, because the first amended complaint supersedes the original complaint, the

Court denies as moot Defendant’s motion to dismiss the original complaint [ECF No. 12]. See In

re Atlas Van Lines, Inc., 209 F.3d 1064, 1067 (8th Cir. 2000) (an amended complaint supersedes

an original complaint and renders the original complaint without legal effect).

       After careful consideration,

IT IS HEREBY ORDERED that Plaintiff is GRANTED leave to file his first amended

Complaint [ECF No. 24].

       IT IS FURTHER ORDERED that Plaintiff is DENIED leave to file his second amended

complaint.

       IT IS FURTHER ORDERED that Plaintiff’s proposed amended complaint [ECF No. 30],

proposed amended complaint [ECF No. 32], and red-lined supplement [ECF No. 33] are

STRICKEN from the record.

       IT IS FURTHER ORDERED that the Defendant’s Motion to Dismiss Plaintiff’s

Complaint [ECF No. 12] is DENIED as moot.




                                                     PATRICIA L. COHEN
                                                     UNITED STATES MAGISTRATE JUDGE


Dated this 17th day of January, 2025




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